Case 2:04-CV-02537-BBD-STA Document 42 Filed 07/06/05 Page 1 of 2 Page|D 48

IN THE UNITED STATES DISTRICT COURTHEDEL” __m_.n£
FOR THE WESTERN DISTRICT OF TENNESSEE

WESTERN DIvIsIoN BSJUL_S gn“:kh

 

D{)WS M. GOU\D
.S. D\STH}CT OOLHT
W UOF TN. MEMFHS

TOMMIE HAMPTON,
Plaintiff,

v.

No. 04-2537 Ml/An

CITY OF MEMPHIS, TENNESSEE,

et al.,

Defendants.

viii-ivyvava

 

ORDER RE-SETTING TRIAL SCHEDULE

 

The Court hereby Sets the following trial Schedule in this

CB.S€:

Trial: Mondayl December 5l 2005l at 9:30 a.m.

Pretrial Conference: Mondav1 November 28, 2005, at 8:45 a.m.

Pretrial Order: Mondav, November 21, 2005. bv 4:30 D.m.

50 ORDERED this \'\-' day of July, 2005.

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JO P. MCCALLA
U TED STATES DISTRICT JUDGE

 

This document entered on the docket sheet in comptiance

with Ru|e 58 and/or 79(a) FHCP on Z~¢Q'§ § z 6%

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TRICT COURT - WESTE

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TENNESSEE

 

Deborah A. GodWin

GODWIN MORRIS LAURENZI & BLOOi\/[FIELD, P.C.

50 N. Front St.
Ste. 800
i\/lemphis7 TN 38103

Joseph M. Rogers

HALE FOGLEMAN & ROGERS
108 Dover Road

P.O. Box 1666

West Memphis, AR 72303

Bobby F. Martin

GODWIN MORRIS LAURENZI & BLOOi\/[FIELD, P.C.

50 N. Front St.
Ste. 800
i\/lemphis7 TN 38103

Henry L. Klein

CITY ATTORNEY'S OFFICE
125 N. Main Street

Room 336

i\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

